                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

LISA ALYN,                                )
                                          )
      Plaintiff/Counterclaim Defendant.   ) CIVIL ACTION NO. 3:15-cv-00596
                                          )
v.                                        ) Judge Waverly D. Crenshaw, Jr
                                          )
SOUTHERN LAND COMPANY, LLC,               ) Magistrate Judge Alistair Newbern
                                          )
      Defendant/Counterclaim Plaintiff.   )
______________________________________________________________________________

 STIPULATED DISMISSAL WITH PREJUDICE AND PROPOSED AGREED ORDER
     FOR PERMANENT INJUNCTION WITHOUT ADMISSION OF LIABILITY
______________________________________________________________________________

       Plaintiff/Counterclaim Defendant Lisa Alyn (“Alyn”) and Defendant/Counterclaim

Plaintiff Southern Land Company, LLC (“Southern Land”) respectfully notify the Court that the

parties have reached a settlement of all claims in this case. Pursuant to Rule 41(a)(1)(A)(ii) of

the Federal Rules of Civil Procedure, Alyn and Southern Land hereby stipulate to the dismissal

of the First Amended Complaint [Doc. 37] and Second Amended Answer and Counterclaims

[Doc. 38], and Answer to Counterclaims [Doc. 44] in this Civil Action and all claims and

counterclaims asserted therein with prejudice. Each party will bear its own attorneys’ fees and

expenses.

       The settlement provides, among other things, for no admission of liability whatsoever by

either party regarding the claims and counterclaims; the entry of a Permanent Injunction without

admission of liability against Alyn as set forth below; dismissal of Alyn’s claims against

Southern Land with prejudice; and dismissal of Southern Land’s counterclaims with prejudice,

subject only to enforcement of the Permanent Injunction without admission of liability and




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settlement agreement as provided for in the Consent Decree entered in this case. It is therefore

ORDERED that:

       1.      Except and until as otherwise agreed by the parties for transition of certain

domain names from Alyn to Southern Land, Alyn and all persons in active concert or

participation with her are hereby permanently enjoined from the following:

               a. Any use of any simulation, reproduction, copy, or colorable imitation of the

WESTHAVEN trademarks set forth in U.S. No. 3,101,150 and U.S. Trademark Reg. No.

3,101,151 as a business name, domain name, social media user name, or other trademark use;

               b.      Any use of the WESTHAVEN trademarks set forth in U.S. No. 3,101,150

and U.S. Trademark Reg. No. 3,101,151 as a business name, domain name, social media

username, or other trademark use; and

               c.      Engaging in any acts that are likely to cause confusion, or to cause

mistake, or to deceive the public as to the affiliation, connection, or association of Ms. Alyn with

Southern Land, or as to the origin, sponsorship, or approval of any of Ms. Alyn’s services or

commercial activities by Southern Land.

       2.      Notwithstanding the foregoing, Ms. Alyn may use the word “Westhaven” in the

context of a fair and factual statement to the effect that “I help clients buy and sell homes in the

Westhaven community,” “I live and work in Westhaven,” “I specialize in selling real estate in

Westhaven,”     “Selling   property    in   Westhaven     is   my    specialty,”   “Specializing   in

Westhaven,”and/or “I sell homes and assist in leasing property in Westhaven” provided that the

word “Westhaven” is not to be highlighted in any manner through the use of larger style,

distinctive typographical style or script, color, shading, setting, or other design elements.




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       3.      Notwithstanding section 1 of this Order, nothing shall prevent Alyn from being a

real estate agent who sells and/or leases homes and other properties in the Westhaven community

and fairly stating that she does so.

       4.      Notwithstanding section 1 of this Order, Alyn also may place advertisements in

emails, flyers, and signs that reference homes or other dwelling for sale in the Westhaven

community.

       5.      Alyn’s claims against Southern Land are hereby dismissed with prejudice.

       6.      Southern Land’s counterclaims against Alyn are hereby dismissed with prejudice,

subject only to enforcement of the Permanent Injunction without admission of liability and

settlement agreement as provided for in the Consent Decree entered in this case.




                                              DISTRICT JUDGE WAVERLY D. CRENSHAW, JR.




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